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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION

                            CASE NO.: 19-22864-Civ-COOKE/GOODMAN

   JUAN COLLINS and JOHN FOWLER,
   on behalf of themselves and all others
   similarly situated,

             Plaintiff,
   v.                                                                 CLASS ACTION COMPLAINT

   QUINCY BIOSCIENCE, LLC,                                            JURY DEMAND
   a Wisconsin limited liability company,

         Defendant.
   ______________________________________/
          AMENDED CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
             Plaintiffs Juan Collins and John Fowler bring this action, on behalf of themselves and all
   others similarly situated, against Defendant Quincy Bioscience, LLC (“Quincy”) and state:
                                           NATURE OF ACTION
             1.      Quincy manufactures, markets, and distributes Prevagen, a purported brain health
   supplement made with the protein apoaequorin (pron. ‘a-po-ah-kwor-in’). 1 For over a decade,
   Quincy has uniformly marketed Prevagen nationwide as being designed for one purpose:




   Quincy unequivocally represents that “Prevagen improves memory” on the front page of its
   website, 2 in every advertisement, be it in print, on the internet, or on television, and even on the

   1
    These products include: Prevagen Regular Strength Capsules (10 mg. apoaequorin), Prevagen Regular
   Strength 60 Capsules (10 mg. apoaequorin), Prevagen Extra Strength Capsules (20 mg. apoaequorin),
   Prevagen Mixed Berry Chewable (10 mg. apoaequorin), Prevagen Extra Strength Chewable (20 mg.
   apoaequorin), and Prevagen Professional Strength (40 mg. apoaequorin) (collectively, “Prevagen” or “the
   products”). The products are referred to collectively because, in a real sense, the “product” at issue in this
   case is apoaequorin, which the evidence will show is equally and uniformly ineffective across the six
   varieties of Prevagen such that Plaintiffs and class members have all suffered the same injury regardless of
   which variety of Prevagen they purchased.
   2
       https://www.prevagen.com/
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   front of every bottle of Prevagen––where it cannot be missed by consumers. Quincy further
   represents on the front of every Prevagen package label that Prevagen “[s]upports” “Healthy Brain
   Function,” “Sharper Mind,” and “Clearer Thinking.” On the back of every Prevagen label, Quincy
   further represents that Prevagen “help[s] with mild memory problems associated with aging” and
   “improve[s] memory within 90 days.”
          2.      In truth, it is impossible for Prevagen to work as represented, and Quincy repeatedly
   and uniformly makes false statements to the public about Prevagen’s ability (rather, non-ability)
   to improve memory or to otherwise affect the brain. Apoaequorin, Prevagen’s purportedly active
   ingredient, is nothing more than a protein that, once ingested, is completely and rapidly destroyed
   by the digestive system and transformed into common amino acids (and possibly small peptides)
   no different than those derived from, say, baloney.
          3.      Moreover, Prevagen is sold in doses ranging from 10–40 mg (or .01–.04 grams).
   Given that the average daily diet contains about 75 grams of protein, a single dose of Prevagen
   accounts for about .013–.053% of the protein the average person consumes daily. Thus, the protein
   consumed through a daily dose of Prevagen amounts to a mere drop in the ocean that can have no
   measurable effect on the brain. This is true regardless of the variety of Prevagen purchased, which
   are identical in that they each suffer from the same fatal defect––that apoaequorin cannot have a
   measurable effect on the brain, whether taken in a 10mg, 20mg, or 40mg dose.
          4.      Finally, the fact that Prevagen cannot affect the brain is further supported because
   the protein derivatives the apoaequorin is rapidly digested into are unable to cross the blood brain
   barrier, so they can never reach the brain to affect it to begin with.
          5.      Therefore, because Prevagen is rapidly digested and completely destroyed during
   the absorption process, as a matter of body chemistry it cannot “[s]upport” “Healthy Brain
   Function,” “Sharper Mind,” and “Clearer Thinking,” it cannot “help with mild memory problems
   associated with aging” nor can it “improve memory within 90 days,” or any of the other things
   Quincy claims it can. Because Prevagen cannot provide the promised benefits as a matter of body
   chemistry, there can never be any competent and reliable scientific evidence supporting these
   claims, and therefore Quincy’s representations that Prevagen is “clinically tested” are also false
   and misleading.
          6.      The only reason a consumer would purchase Prevagen is to obtain these advertised
   health benefits, which Prevagen does not––and cannot––provide.



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             7.      Similar allegations regarding Prevagen survived a motion to dismiss in a related
   action pending in the Northern District of California, Racies v. Quincy Bioscience LLC, No. 4:15-
   cv-00292-HSG, ECF No. 34, p. 2, 6 (N.D. Cal. May 19, 2015) (defining the “body chemistry
   allegations” and concluding that “[t]he Court finds that Plaintiff’s body chemistry allegations,
   taken as true for purposes of this motion to dismiss, are sufficient to state a claim”). Notably, this
   action does not include any allegations regarding “lack of substantiation” of Quincy’s
   representations regarding Prevagen. See id., 2–6 (explaining the difference between “body
   chemistry allegations” and “lack of substantiation” allegations).
             8.      The Racies court went on to grant certification of a class of California consumers
   who purchased Prevagen. Racies v. Quincy Bioscience LLC, No. 4:15-cv-00292-HSG, 2017 WL
   6418910 (N.D. Cal. Dec. 15, 2017).
             9.      Quincy is well-aware that Prevagen does not provide the health benefits it
   advertises. Quincy attempts to bolster its misrepresentations through hyping an unpublished, in-
   house study it performed to test Prevagen, which it calls the “Madison Memory Study.” 3 Yet, in a
   recent action the FTC brought against Quincy, the court indicated that “[i]t is common ground that
   the Madison Memory Study . . . failed to show a statistically significant improvement in the
   experimental group over the placebo group as a whole.” 4 Further, on February 8, 2019, during
   oral argument before the Second Circuit Court of Appeal regarding that same case, Quincy’s
   counsel had the following exchange with the panel:
             Quincy: “We don’t dispute that if you look across the entire 211 people who
             completed the study there was no statistically significant difference but-”
             Court: “You couldn’t. You couldn’t dispute that.”
             Quincy: “And I’m not.” 5
   Regarding its claims that apoaequorin can cross the blood-brain barrier, Quincy said at the same
   oral argument that:

   3
     Plaintiffs reference the Madison Memory Study to highlight Quincy’s admissions that its own study failed
   to show a statistically significant improvement in the experimental group over the placebo group,
   evidencing Quincy’s knowledge of the falsity of its claims. As Plaintiffs’ claim is that, as a matter of body
   chemistry, there can be no competent and reliable scientific evidence supporting Quincy’s claims regarding
   the efficacy of apoaequorin as a memory enhancer (which will be proven at trial through expert testimony
   and other evidence), the Madison Memory Study is not central to Plaintiffs’ claims.
   4
       Patten, Bonnie. Prevagen is Going to The Dogs.                     (Feb.   22,   2019)    available    at
   https://www.truthinadvertising.org/prevagen-is-going-to-the-dogs/
   5
       Id. (emphasis added).


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             Did we ever say we have evidence that it [Prevagen] crosses the human blood brain
             barrier? No. We only say we have evidence that it crosses the blood brain barrier in
             the dog study. 6
             10.     Plaintiffs have retained one of the foremost experts in Pharmacology and
   Neuroscience who is an expert in the field regarding whether and how substances such as
   apoaequorin can affect the brain. His analysis after a review of Prevagen’s ingredients and the
   representations regarding its purported efficacy is in accord with the allegations of this complaint;
   apoaequorin does not have characteristics that distinguish it from other dietary proteins that are
   digested in the stomach, cannot cross the blood brain barrier to affect the brain, and even if it could,
   is present in Prevagen in such small amounts that it could have no measurable effect on the brain.
             11.     The results of Plaintiffs’ expert’s analysis are in accord with the analysis of Dr.
   Richard P. Bazinet, who submitted an expert report in support of class certification in Racies.
   Racies, No. 4:15-cv-00292-HSG, ECF No. 123-5 (N.D. Cal. Sept. 15, 2017). Further, they are in
   accord with the opinions of all reasonable experts in this field. See, e.g., Anthony Pearson, MD,
   Jellyfish Memory Supplement Prevagen Called ‘Clear-Cut Fraud’, Medpage Today, June 8, 2019,
   https://www.medpagetoday.com/blogs/skeptical-cardiologist/80321 (last accessed Sept. 6, 2019);
   Joe Schwarcz PhD, Prevagen for Mental Clarity?, McGill University Office for Science and
   Society, Jan. 4, 2019, https://mcgill.ca/oss/article/health/prevagen-mental-clarity (last accessed
   Sept. 6, 2019).
             12.     Quincy’s misrepresentations regarding Prevagen are false, deceptive, and are likely
   to mislead reasonable consumers.
             13.     As a result of Quincy’s false and deceptive representation, consumers – including
   Plaintiffs and members of the proposed Class – have purchased a product that does not perform as
   advertised and is therefore worthless. Plaintiffs bring this action on behalf of themselves and other
   similarly situated Florida consumers to correct the false and misleading perception Quincy has
   created in the minds of consumers, and to obtain redress for those Florida consumers who have
   purchased Prevagen. Based on violations of the Florida Deceptive and Unfair Trade Practices Act,
   §§ 501.201, et seq., Florida Statutes (“FDUTPA”) and unjust enrichment, Plaintiffs seek
   declaratory and monetary relief for Florida consumers who purchased Prevagen.



   6
       Id. (emphasis added).


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                                               PARTIES
          14.     Plaintiff Juan Collins (“Plaintiff Collins”) is over the age of 18 and is a citizen of
   Leon County, Florida and is currently a Senior Attorney for the Florida Dispute Resolution Center
   of the Office of the State Courts Administrator. Plaintiff Collins was also a Deputy General
   Counsel at the Agency for Persons with Disabilities, an Assistant General Counsel at the Florida
   Department of Children and Families, and is a retired JAG Officer having served over 29 years in
   the United States Army Reserve. Plaintiff Collins is the father of six children and has eight
   grandchildren and two god-sons. Plaintiff Collins serves on the Board of Directors for the
   Neighborhood Medical Center and the Sickle Cell Foundation and serves as Vice-President of the
   Tallahassee Area Chapter of 100 Black Men. Plaintiff Collins was selected “Man of the Year” by
   the Tallahassee Chapter of 100 Black Men at the Chapter’s 2017 Black Tie Scholarship Gala on
   June 16, 2017. When Plaintiff Collins’ sister was first diagnosed with Alzheimer’s, he did
   everything in his power to help prolong her life and to preserve her mental faculties. In Summer
   2017 Plaintiff Collins purchased Prevagen Extra Strength from a Walgreens located at 1106
   Clearlake Road, Cocoa, Florida 32922. Prior to purchasing Prevagen, Plaintiff Collins was
   exposed to and saw Quincy’s memory improvement representations by reading the Prevagen label,
   as well as other advertisements, including television, internet, and print advertisements. The
   Prevagen Plaintiff Collins purchased did not and could not improve memory or support healthy
   brain function as represented and was therefore worthless. As a result, Plaintiff Collins suffered
   injury in fact and lost money at the point of purchase. Had Plaintiff Collins known the truth about
   Quincy’s misrepresentations and omissions, he would not have purchased Prevagen.
          15.     Plaintiff John Fowler (“Plaintiff Fowler”) is over the age of 18 and is a citizen of
   Palm Beach County, Florida. Plaintiff Fowler has purchased Prevagen Regular Strength (both 30
   and 60 capsules) multiple times in person and online over the last year. For example, on or about
   May 12, 2019, Plaintiff Fowler purchased 4 bottles of Prevagen Regular Strength at $27.99 per
   bottle online from ebay.com. Before that, around September 2018, Plaintiff Fowler purchased a
   bottle of Prevagen Regular Strength in person at a Walgreens located at 10110 Lyons Rd, Boynton
   Beach, FL 33473. Prior to purchasing Prevagen, Plaintiff Fowler was exposed to and saw Quincy’s
   memory improvement representations by reading the Prevagen labels, as well as other
   advertisements, including television, internet, and print advertisements. The Prevagen Plaintiff
   Fowler purchased did not and could not improve memory or support healthy brain function as



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   represented and was therefore worthless. As a result, Plaintiff Fowler suffered injury in fact and
   lost money at the point of each purchase. Had Plaintiff Fowler known the truth about Quincy’s
   misrepresentations and omissions, he would not have purchased Prevagen.
           16.     Defendant Quincy is a limited liability company organized and existing under the
   laws of the state of Wisconsin. Quincy’s headquarters is at 301 South Westfield Road, Suite 200,
   in Madison, Wisconsin. The sole member of Quincy is Quincy Bioscience Holding Company, Inc.
   Quincy Bioscience Holding Company, Inc. is a Wisconsin corporation. Defendant Quincy is
   therefore a citizen of Wisconsin. Defendant Quincy manufactures, advertises markets, distributes,
   and/or sells Prevagen to tens of thousands of consumers in Florida and throughout the United
   States. Quincy may be served with process by serving its registered agent, Keith A. Thomsen, at
   726 Heartland Trail, Suite 300, Madison, WI 53717.

                                     JURISDICTION AND VENUE
           17.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §
   1332(d)(2)(A) because this is an action for a sum exceeding $5,000,000.00, exclusive of interest
   and costs, and in which at least one class member is a citizen of a state different than Quincy.
   Additionally, this Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §
   1332(a)(1) as Plaintiffs’ individual claims are brought by Florida citizens against a Wisconsin
   citizen, and given the nature of the claims and the declaratory relief sought the amount in
   controversy is greater than $75,000.00, exclusive of interest and costs.
           18.     This Court has personal jurisdiction over Quincy because Quincy is authorized to
   do business and is conducting business throughout the United States, including in Florida. Quincy
   has marketed, promoted, distributed, and sold the Prevagen products in the United States, including
   Florida, and has sufficient minimum contacts with this State and/or sufficiently avails itself of the
   markets of the various states of the United States, including Florida, to render the exercise of
   jurisdiction by this Court permissible.
           19.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because many of the
   acts and transactions giving rise to this action occurred in this District and Quincy is authorized to
   conduct business in this District, has intentionally availed itself of the laws and markets within this
   District through the promotion, marketing, distribution and sale of the Prevagen products in this
   District and is subject to personal jurisdiction in this District.




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                                         FACTUAL ALLEGATIONS
             20.    Quincy manufactures, distributes, markets and sells Prevagen nationwide,
   including in Florida. Prevagen contains a purported active ingredient called apoaequorin (pron. ‘a-
   po-ah-kwor-in’), which Quincy clams “is safe and uniquely supports brain function.” 7 As the real
   “product” at issue in this lawsuit is apoaequorin, this lawsuit concerns all Prevagen varieties, see
   p. 1, supra at n. 1.
             21.    Prevagen is sold in virtually every major food, drug, and mass retail outlet in the
   country, as well as online through Quincy’s Prevagen website. Prevagen prices range from about
   $24.00–$90.00 per bottle, depending on the pill count or dosage of apoaequorin. The following
   are screen shots of the products: 8




   7
       See https://www.prevagen.com/about-prevagen/
   8
       See https://www.prevagen.com/shop/


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          22.    Since Prevagen’s launch in 2007, Quincy has consistently conveyed the message
   to consumers throughout the United States, including in Florida, that Prevagen “[s]upports”
   “Healthy Brain Function,” “Sharper Mind,” and “Clearer Thinking,” that Prevagen “help[s] with
   mild memory problems associated with aging” and “improve[s] memory within 90 days.” It does
   not. Quincy’s misrepresentations are false, misleading and deceptive.




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          23.    Despite the evidence, scientific fact, and Quincy’s own admissions that Prevagen
   does not and cannot improve memory or support brain function, sharper mind or clearer thinking,
   each and every Prevagen package and label repeatedly emphasizes that Prevagen “[s]upports”
   “Healthy Brain Function,” “Sharper Mind,” and “Clearer Thinking,” that Prevagen “help[s] with
   mild memory problems associated with aging” and “improve[s] memory within 90 days.” Each
   and every consumer who purchases Prevagen is exposed to these deceptive misrepresentations,
   which appear prominently and conspicuously on the front, back, and/or sides of each Prevagen
   box as follows:




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         24.   And, on the top of the Prevagen box is a picture of the brain encircled by the
   “SUPPORTS HEALTHY BRAIN FUNCTION” misrepresentation:




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          25.     Quincy’s misrepresentations regarding Prevagen are conspicuously present on its
   website:




   As well as in its television and internet advertisements:




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          26.       As of the filing of this Complaint, Quincy continues to unequivocally and falsely
   claim that Prevagen “[s]upports” “Healthy Brain Function,” “Sharper Mind,” and “Clearer
   Thinking,” that Prevagen “help[s] with mild memory problems associated with aging” and
   “improve[s] memory within 90 days.” The only reason a consumer would purchase Prevagen is to
   obtain these advertised health benefits, which Prevagen does not––and cannot––provide.
          27.       Plaintiffs and the Class members have been damaged in their purchases of these
   products based on Quincy’s false representations. Plaintiffs and Class members have been and will
   continue to be deceived or misled by Quincy’s false and deceptive misrepresentations. Plaintiffs
   would not have purchased Prevagen had they known that Quincy’s claims were false and
   misleading.
                                   CLASS ACTION ALLEGATIONS
          28.       As detailed below in the individual counts, Plaintiffs bring this lawsuit on behalf of
   himself and all others similarly situated, pursuant to Rule 23(a), (b)(2) and (b)(3), and (c)(4) of the
   Federal Rules of Civil Procedure.
                 A. Class Definitions
          29.       Plaintiffs seek to represent the following Florida Classes:
                    Pursuant to Rule 23(a) and (b)(3), during the fullest period allowable
                    by law, all Florida consumers who purchased Prevagen.

                    Pursuant to Rule 23(a) and (b)(2), during the fullest period allowable
                    by law, all Florida consumers who purchased Prevagen.

          30.       Excluded from the above Classes are Quincy and its officers, directors, affiliates,
   legal representatives, and employees, any governmental entities, any judge, justice, or judicial
   officer presiding over this matter and the members of their immediate families and judicial staff,
   and those who purchased Prevagen for resale.
          31.       Plaintiffs reserve the right to modify or amend the definition of the proposed Class
   before or after the Court determines whether such certification is appropriate as discovery
   progresses.
                 B. Numerosity
          32.       The Class is comprised of thousands of consumers throughout the state of Florida.
   The Class is so numerous that joinder of all members of the Class is impracticable. While the
   precise number of class members is currently unknown to Plaintiffs, the evidence will show that



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   Quincy has sold, either directly or through third party retailers, well over 200,000 bottles of
   Prevagen within the state of Florida alone.
          33.     Moreover, it is administratively feasible to ascertain class members by reference to
   objective criteria: Florida consumers who purchased Prevagen during specified time periods.
   There are no subjective issues such that determining class membership would require a “mini-
   trial” on the merits of each class member’s claim.
          34.     The evidence will show that Quincy maintains records that will be useful in
   identifying Class Members. As Quincy’s CEO and President, Mark Underwood, has stated on
   behalf of Quincy in verified responses to interrogatories in Racies, “[Quincy] maintains the
   information provided to [Quincy] by those customers who purchase directly from [Quincy], which
   information typically includes the direct customers’ name, email address, and billing and/or street
   address.” Racies, No. 4:15-cv-00292-HSG at ECF No. 123-11, 12 (Sept. 15, 2017). Underwood
   also attested in Racies that “[i]n 2015 and 2016 in California, for example, direct sales to individual
   consumers constituted only 18.1% and 5.4% of Quincy’s California sales revenue, respectively.
   The sales ratios in California are reflective of Quincy’s sales in other states. Before 2015, direct
   sales to individual consumers in California constituted about half of all sales in California.” Racies,
   No. 4:15-cv-00292-HSG at ECF No. 128-1, 3 (Oct. 13, 2017) (emphasis added). Further, Quincy
   has a process for collecting consumer testimonials, through which they collect consumer’s contact
   information for follow up, and therefore likely has contact information for Florida consumers who
   have not purchased Prevagen directly through Quincy. Id., 3–4.
          35.     Moreover, the evidence will show that self-identification of class members will be
   a manageable process because every bottle of Prevagen was sold with the same ineffective and
   worthless apoaequorin and was packaged with identical, uniform misrepresentations on the labels.
   Class members will be able to self-identify through proof of purchase (such as receipts, credit card
   statements, or possession of the actual bottle(s) of Prevagen purchased) or through affidavit.
          36.     Additionally, the evidence will show that third-party retailers who sell Prevagen
   possess significant information sufficient to identify purchasers of Prevagen, which can identify
   class members and be used to cross-reference and substantiate self-identifying affidavits to
   confirm class membership.




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                C. Commonality/Predominance
          37.      This action involves common questions of law and fact, which predominate over
   any questions affecting individual class members. These common legal and factual questions
   include, but are not limited to, the following:
                (a) whether the claims discussed above are true, or are misleading, or objectively
                    reasonably likely to deceive;
                (b) whether the alleged conduct constitutes violations of the FDUTPA;
                (c) whether Quincy engaged in false or misleading advertising;
                (d) whether Quincy has been unjustly enriched at the expense of Plaintiffs and the Class
                    members as a result of Quincy’s false and misleading representations;
                (e) whether Plaintiffs and Class members have sustained monetary loss and the proper
                    measure of that loss; and
                (f) whether Plaintiffs and Class members are entitled to other appropriate remedies,
                    including a declaration.
                D. Typicality
          38.      Plaintiffs’ claims are typical of the claims of the members of the Class because,
   inter alia, all Class members were injured through the uniform misconduct described above, were
   subject to Quincy’s deceptive statements, including that Prevagen “[s]upports” “Healthy Brain
   Function,” “Sharper Mind,” and “Clearer Thinking,” that Prevagen “help[s] with mild memory
   problems associated with aging” and “improve[s] memory within 90 days.” Plaintiffs are
   advancing the same claims and legal theories on behalf of themselves and all Class Members.
          39.      The evidence that will support and prove Plaintiffs’ claims is probative of each
   Class Member, with damages being the only divergent factual characteristic. For example, Quincy
   has admitted that, from the time it first introduced Prevagen to the present, its advertising of
   Prevagen has been uniform, and “it has not made any state-specific change to the labeling of”
   Prevagen. Racies v. Quincy Bioscience LLC, No. 4:15-cv-00292-HSG, ECF No. 123-9, 4–5 (Sept.
   15, 2017) (verified response to request for admission). Further, as to damages, because proving
   Plaintiffs’ claims will prove that Prevagen is rendered valueless as a result of the scientific fact
   that apoaequorin cannot affect the brain, then the purchase price is the appropriate measure of
   damages for Plaintiffs and every Class Member.
          40.      Moreover, as the Racies court explained, “the manner in which [Plaintiffs] took the
   product is not at issue in this case because the relevant inquiry and related injury occurs at the time
   Plaintiffs purchased the product based on the product label.” Racies, 2017 WL 6418910, at *3.


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           41.      Plaintiffs’ claims are thus typical of the claims of the classes they seek to represent.
                 E. Adequacy of Representation
           42.      Plaintiffs will fairly and adequately protect the interests of the members of the
   Class. Plaintiffs have retained counsel experienced in complex consumer class action litigation,
   and Plaintiffs intend to prosecute this action vigorously. Plaintiffs have no adverse or antagonistic
   interests to those of the classes. Plaintiffs anticipate no difficulty in the management of this
   litigation as a class action. To prosecute this case, Plaintiffs have chosen the undersigned law firms,
   which have the financial and legal resources to meet the substantial costs and legal issues
   associated with this type of consumer class litigation.
                 F. Requirements of Fed. R. Civ. P. 23(b)(3)
           43.      The questions of law or fact common to Plaintiff’s and each Class member’s claims
   predominate over any questions of law or fact affecting only individual members of the Class. All
   claims by Plaintiffs and the unnamed Class members are based on the common marketing and
   sales practices Quincy utilized in its sale of Prevagen to Plaintiffs and the unnamed Class members.
           44.      Common issues predominate when, as here, liability can be determined on a class-
   wide basis, even when there will be some individualized damages determinations.
           45.      As a result, when determining whether common questions predominate, courts
   focus on the liability issue, and if the liability issue is common to the Class as is in the case at bar,
   common questions will be held to predominate over individual questions.
           46.      In certifying the California class in Racies, the Northern District of California found
   that common issues on liability predominated where, at trial, plaintiff would (as will Plaintiffs
   here) “present commonly-applicable evidence, including his expert’s opinion that basic scientific
   principles show that Prevagen cannot provide the benefits claimed, to establish the falsity of
   Defendant’s efficacy representations.” Racies v. Quincy Bioscience, LLC, 15-CV-00292-HSG,
   2017 WL 6418910, at *4 (N.D. Cal. Dec. 15, 2017).
                 G. Superiority
           47.      A class action is superior to individual actions in part because of the non-
   exhaustive factors listed below:
                 (a) Joinder of all Class members would create extreme hardship and inconvenience for
                     the affected customers as they reside throughout the country;
                 (b) Individual claims by Class members are impractical because the costs to pursue
                     individual claims exceed the value of what any one Class member has at stake. As


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                     a result, individual Class members have no interest in prosecuting and controlling
                     separate actions;
                  (c) There are no known individual Class members who are interested in individually
                      controlling the prosecution of separate actions;
                  (d) The interests of justice will be well served by resolving the common disputes of
                      potential Class members in one forum;
                  (e) Individual suits would not be cost effective or economically maintainable as
                      individual actions; and
                  (f) The action is manageable as a class action.
            48.      In certifying the California class in Racies, the Northern District of California found
   that a class action was the superior method of adjudicating these claims, rejecting Quincy’s
   arguments regarding claimed manageability issues and concluding that “that there may be some
   difficulty in identifying all class members is not dispositive,” that “under Plaintiff’s theory of the
   case, ‘all the Prevagen Products are worthless’ and any benefit would be attributable to the placebo
   effect,” and that “[a] refund is also not a superior alternative to adjudicating class members’
   claims.” Racies, 2017 WL 6418910 at *5.

                  H. Requirements of Fed. R. Civ. P. 23(b)(2)
            49.      Quincy has acted and/or refused to act on grounds generally applicable to the
   classes by engaging in a uniform marketing and advertising campaign containing false, misleading
   and deceptive representations and material omissions that were and are reasonably likely to
   mislead Plaintiffs and the Classes, thereby making appropriate final declaratory relief with respect
   to the classes as a whole.
                  I. Requirements of Fed. R. Civ. P. 23(c)(4)
            50.      As it is clear that the predominant issue regarding Quincy’s liability is whether
   Quincy’s representations are false and/or misleading because, as a matter of body chemistry,
   Prevagen cannot “[s]upport” “Healthy Brain Function,” “Sharper Mind,” and “Clearer Thinking,”
   it cannot “help with mild memory problems associated with aging” nor can it “improve memory
   within 90 days,” utilizing Rule 23(c)(4) to certify either or both of the Florida Classes for a class
   wide adjudication on this issue would materially advance the disposition of the litigation as a
   whole.




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                            FRAUDULENT CONCEALMENT TOLLING
           51.     All applicable statutes of limitation have been tolled by Quincy’s knowing and
   active fraudulent concealment and denial of the facts alleged herein throughout the period relevant
   to this action. Plaintiffs and members of the class did not and could not have known about the facts
   giving rise to the causes of action at any point during Quincy’s aggressive false advertising
   campaign and staunch defense of other pending suits. Quincy fraudulently concealed the truth from
   its customers and, accordingly, the relevant statutes of limitation should be equitably tolled until
   July 11, 2019, at the earliest.
           52.     Instead of disclosing the ineffectiveness and inability of apoaequorin to cross the
   blood-brain barrier and affect the brain, Quincy falsely represented that Prevagen “[s]upports”
   “Healthy Brain Function,” “Sharper Mind,” and “Clearer Thinking.” By making many affirmative
   representations that concealed the ineffectiveness of Prevagen as described in this complaint,
   Quincy actively and successfully concealed Plaintiffs’ and class members’ causes of action (which
   are based on the deceptive and untrue representations made by Quincy about Prevagen).
           53.     Furthermore, by making repeated false statements to consumers concerning the
   ineffectiveness of Prevagen, Quincy actively and successfully concealed Plaintiffs’ and class
   members’ causes of action by fraudulent means.
                                              COUNT I
              For Violations of the Florida Deceptive and Unfair Trade Practices Act,
                                 § 501.201, Florida Statutes, et seq.
                    (On behalf of Plaintiffs and Members of the Florida Class)
           54.     Plaintiffs reallege and incorporate by reference the allegations contained in
   paragraphs 1–53 as if fully set forth herein.
           55.     This cause of action is brought pursuant to the Florida Deceptive and Unfair Trade
   Practices Act, section 501.201, Fla. Stat., et seq. (“FDUTPA”). The stated purpose of the FDUTPA
   is to “protect the consuming public . . . from those who engage in unfair methods of competition,
   or unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or
   commerce.” § 501.202(2), Fla. Stat.
           56.     Plaintiffs are consumers as defined by section 501.203, Fla. Stat. The Prevagen
   products are goods within the meaning of the FDUTPA. Quincy is engaged in trade or commerce
   within the meaning of the FDUTPA.




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          57.     Florida Statute section 501.204(1) declares unlawful “[u]nfair methods of
   competition, unconscionable acts or practices, and unfair or deceptive acts or practices in the
   conduct of any trade or commerce.” The FDUTPA also prohibits false and misleading advertising.
          58.     Quincy’s unfair and deceptive practices as described herein are likely to mislead –
   and have misled – consumers acting reasonably in the circumstances.
          59.     Quincy has violated the FDUTPA by engaging in the unfair and deceptive practices
   as described herein which offend public policies and are immoral, unethical, unscrupulous and
   substantially injurious to consumers.
          60.     Plaintiffs and consumers in the Florida Classes have been aggrieved by Quincy’s
   unfair and deceptive practices and acts of false advertising in that they paid for Prevagen that did
   not and could not “[s]upport[]” “Healthy Brain Function,” “Sharper Mind,” and “Clearer
   Thinking,” “help with mild memory problems associated with aging” or “improve memory within
   90 days” as represented. As a result, Plaintiffs and the Florida Classes have purchased worthless
   products such that their actual damages are the full purchase price of Prevagen.
          61.     In addition, the practice employed by Quincy, whereby Quincy sold, promoted and
   marketed Prevagen with the deceptive representations herein described constitutes a per se
   violation of FDUTPA under section 501.203(3)(c) because it is in violation of the Florida Food
   Safety Act, § 500.04 (1) and (2), Florida Statutes in that said products are misbranded.
          62.     Defendant’s false, unlawful, and misleading product descriptions render its
   products misbranded under Florida law. Specifically, section 500.04 of the Florida Food Safety
   Act prohibits the manufacture, sale or delivery of “misbranded food.” Quincy admits that Prevagen
   is a dietary supplement, which meets the definition of “food” under the FFSA. § 500.03(n)(5).
   Food is “misbranded” when “its labeling is false or misleading in any particular.” Fla. Stat. §
   500.11(1)(a) & (b). A food is considered mislabeled unless the proper disclosures are made “on
   the outside container or wrapper” on the product. § 500.03(1)(t). Misbranded products cannot be
   legally sold and are legally worthless.
          63.     The harm suffered by Plaintiffs and consumers in the Florida Classes was directly
   and proximately caused by the deceptive, misleading and unfair practices of Quincy, as more fully
   described herein.
          64.     Pursuant to sections 501.211(2) and 501.2105, Fla. Stat., Plaintiffs and consumers
   in the Florida Classes make claims for damages, attorneys’ fees and costs.



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                                            COUNT II
             For Violations of the Florida Deceptive and Unfair Trade Practices Act,
                                § 501.201, Florida Statutes, et seq.
                   (On behalf of Plaintiffs and Members of the Florida Class)
          65.     Plaintiffs reallege and incorporate by reference the allegations contained in
   paragraphs 1–53 as if fully set forth herein.
          66.     This cause of action is brought pursuant to the Florida Deceptive and Unfair Trade
   Practices Act, section 501.201, Fla. Stat., et seq. (“FDUTPA”). The stated purpose of the FDUTPA
   is to “protect the consuming public . . . from those who engage in unfair methods of competition,
   or unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or
   commerce.” § 501.202(2), Fla. Stat.
          67.     Plaintiffs are consumers as defined by section 501.203, Fla. Stat. The Prevagen
   products are goods within the meaning of the FDUTPA. Quincy is engaged in trade or commerce
   within the meaning of the FDUTPA.
          68.     Florida Statute section 501.204(1) declares unlawful “[u]nfair methods of
   competition, unconscionable acts or practices, and unfair or deceptive acts or practices in the
   conduct of any trade or commerce.” The FDUTPA also prohibits false and misleading advertising.
          69.     Quincy’s unfair and deceptive practices as described herein are likely to mislead –
   and have misled – consumers acting reasonably in the circumstances.
          70.     Quincy has violated the FDUTPA by engaging in the unfair and deceptive practices
   as described herein which offend public policies and are immoral, unethical, unscrupulous and
   substantially injurious to consumers.
          71.     Plaintiffs and consumers in the Florida Classes have been aggrieved by Quincy’s
   unfair and deceptive practices and acts of false advertising in that they paid for the Prevagen
   products that did not and could not “[s]upport[]” “Healthy Brain Function,” “Sharper Mind,” and
   “Clearer Thinking,” “help with mild memory problems associated with aging” or “improve
   memory within 90 days” as represented.
          72.     In addition, the practice employed by Quincy, whereby Quincy sold, promoted and
   marketed Prevagen with the deceptive representations herein described constitutes a per se
   violation of FDUTPA under section 501.203(3)(c) because it is in violation of the Florida Food
   Safety Act, § 500.04 (1) and (2), Florida Statutes in that said products are misbranded.




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          73.     Defendant’s false, unlawful, and misleading product descriptions render its
   products misbranded under Florida law. Specifically, section 500.04 of the Florida Food Safety
   Act prohibits the manufacture, sale or delivery of “misbranded food.” Quincy admits that Prevagen
   is a dietary supplement, which meets the definition of “food” under the FFSA. § 500.03(n)(5).
   Food is “misbranded” when “its labeling is false or misleading in any particular.” Fla. Stat. §
   500.11(1)(a) & (b). A food is considered mislabeled unless the proper disclosures are made “on
   the outside container or wrapper” on the product. § 500.03(1)(t). Misbranded products cannot be
   legally sold and are legally worthless.
          74.     The harm suffered by Plaintiffs and consumers in the Florida Classes was directly
   and proximately caused by the deceptive, misleading and unfair practices of Quincy, as more fully
   described herein.
          75.     In addition to seeking recovery of their attorneys’ fees and costs pursuant to section
   501.2105, Fla. Stat., pursuant to section 501.211(1), Fla. Stat., Plaintiffs and consumers in the
   Florida Classes seek a declaratory judgment that Quincy has violated FDUTPA because its
   representations are false and/or misleading because, as a matter of body chemistry, Prevagen
   cannot “[s]upport” “Healthy Brain Function,” “Sharper Mind,” and “Clearer Thinking,” it cannot
   “help with mild memory problems associated with aging” nor can it “improve memory” or
   “improve memory within 90 days.” Plaintiffs and consumers in the Florida Classes further seek a
   declaratory judgment that Prevagen is a misbranded food under Florida law, and therefore Quincy
   has committed per se violations of FDUTPA.

                                                COUNT III
                                           Unjust Enrichment
                       (On behalf of Plaintiffs and Members of the Florida Class)
          76.     Plaintiffs reallege and incorporate by reference the allegations contained in
   paragraphs 1–53 as if fully set forth herein.
          77.     At all times relevant hereto, Quincy designed, manufactured, produced, promoted,
   marketed and/or sold the Prevagen products.
          78.     Plaintiffs and consumers in the Florida Classes conferred upon Quincy non-
   gratuitous payments for the Prevagen products. Quincy appreciated, accepted or retained the non-
   gratuitous benefits conferred by Plaintiffs and consumers in the Florida Class, with full knowledge
   and awareness that, as a result of Quincy’s deceptive marketing. Plaintiffs and consumers in the



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   Florida Classes were not receiving Prevagen products of the quality, nature, fitness or value that
   had been represented by Quincy and reasonable consumers would have expected; in fact, the
   Prevagen they purchased was worthless.
          79.      Quincy profited from its unlawful, unfair, misleading, and deceptive practices and
   advertising at the expense of Plaintiffs and consumers in the Florida Class, under circumstances in
   which it would be unjust for Quincy to be permitted to retain the benefit. Under common law
   principles of unjust enrichment, Quincy should not be permitted to retain the benefits of this unjust
   enrichment.
          80.      Because Quincy’s retention of the non-gratuitous benefits conferred by Plaintiffs
   and consumers in the Florida Classes is unjust and inequitable, Plaintiffs and consumers in the
   Florida Classes are entitled to, and hereby seek disgorgement and restitution of Quincy’s wrongful
   profits, revenue, and benefits in a manner established by the Court.
                                        PRAYER FOR RELIEF
   Wherefore, Plaintiffs pray for a judgment:
                a. Certifying the Florida Classes as requested herein;
                b. Awarding declaratory relief as permitted by law or equity;
                c. Awarding Plaintiffs Collins and Fowler and consumers in the Florida Classes
                   damages;
                d. Awarding restitution and disgorgement of Defendant’s revenues to Plaintiffs and
                   consumers in the Florida Class;
                e. Awarding attorneys’ fees and costs; and
                f. Providing such further relief as may be just and proper.
                                    DEMAND FOR JURY TRIAL
          Plaintiffs hereby demand a jury trial as to all claims so triable.




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   Dated: September 11, 2019.

                                                Respectfully submitted,

                                                By: /s/ Adam Moskowitz__

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                                                     Counsel for Plaintiffs and the Class

                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on September 11, 2019, I electronically filed the foregoing with
   the Clerk of the Court for the United States District Court, Southern District of Florida, by using
   the CM/ECF system, which will serve a copy of this amended complaint on all counsel of record.

                                         By: /s/ Adam M. Moskowitz
                                                 Adam M. Moskowitz




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